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stability. Unlike a submersible, a semi-submersible vessel is not supported by resting on the

seabed. Semi-submersible vessels are able to transform from a deep to a shallow draft by de-

ballasting (removing ballast water from the hull), thereby becoming surface vessels. Typically,

they are moved from location to location in this configuration.

         4.    Like a typical semi-submersible, the INNOVATOR was constructed with a steel

pontoon hull, and twenty-five (25) ballast tanks to insure her ability to float. She has the typical

semi-submersible configuration described above, with a watertight bulkhead and additional tanks

for fuel, cement, water, and mud to support her function as a mobile drilling vessel.

         5.    The INNOVATOR was converted from a semi-submersible drilling rig to a semi-

submersible production rig.     The conversion consisted of removing drilling equipment and

replacing it with production equipment. The hull, superstructure, tanks and vessel qualities of

the semi-submersible were not changed or affected in the conversion process. In all respects, the

INNOVATOR remained a semi-submersible and continues to be a semi-submersible with

inherent capabilities of moving from job site to job site.

         6.    Among other characteristics, the INNOVATOR has the following:

               a.      Pontoon hull;

               b.      Ballast tanks;

               c.      Tow Bridles;

               d.      Towing lugs;

               e.      Fender frames;

               f.      Navigational lights;

               g.      Automated Identification System (AIS);


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               h.     Sleeping quarters and accommodations for 98 people on board;

               i.     Galley;

               j.     Main Control Room;

               k.     Lifeboats;

               l.     Anchors;

               m.     Hull Positions System;

               n.     Ballast System;

               o.     GPS Positioning System;

               p.     Draft marks;

               q.     Anodes;

               r.     Diesel and gas turbine generators

               s.     Mooring system; and

               t.     Winches.

         7.    In December of 2013, ATP Infrastructure Partners, L.P. (“ATP Partners”), which

owned the INNOVATOR at the time, entered into a Layberth Agreement with Gulf Marine (the

“2013 Layberth Agreement) to berth the INNOVATOR at Gulf Marine’s dock at the intersection

of the Intracoastal Waterway and the Corpus Christi Ship Channel.

         8.    The 2013 Layberth Agreement is attached to my Declaration and is a true and

correct copy of the Layberth Agreement, dated December 13, 2013.

         9.    Following the execution of the 2013 Layberth Agreement, the INNOVATOR was

towed to Ingleside, Texas to a berth at Gulf Marine’s dock in January of 2014.           The

INNOVATOR was a “wet tow,” meaning that she was seaworthy and capable of floating on her


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own during the transport to Gulf Marine’s facility. During the tow, the INNOVATOR had a

crew on board which assisted in the tow and berthing at Gulf Marine’s facility. Upon reaching

the port of Corpus Christi, a pilot boarded the INNOVATOR to assist in mooring her at Gulf

Marine’s facility. The INNOVATOR’s crew operated winches onboard the semi-submersible to

moor her at Gulf Marine’s dock.

         10.   After the INNOVATOR was sold to Amerindo Services Ltd. (“Amerindo”), Gulf

Marine entered into a Layberth Agreement on December 13, 2015 with Amerindo, and its

affiliate Blue Sky Langsa, Ltd to continue berthing the INNOVATOR at Gulf Marine’s dock (the

“2015 Layberth Agreement”) through June 30, 2016 and thereafter on a month-to-month basis

not to exceed December 31, 2016. The 2015 Layberth Agreement is attached to my Declaration

and is a true and correct copy of the Layberth Agreement, dated December 13,2015. The

INNOVATOR has remained at Gulf Marine’s facility since December of 2015.

         11.   In addition to dockage services, Gulf Marine provided the following services and

marine equipment to the INNOVATOR: 1) Monthly spacer barge; 2) Shore power; 3)

Equipment, including cranes and forklifts; 4) Daily inspection; and 5) Maintenance.

         12.   In addition, Amerindo has contracted for daily work to be performed on the

INNOVATOR while she has been berthed at Gulf Marine’s dock. This work has included the

following maintenance services, among others: miscellaneous valve inspections, testing and part

replacement(s) in the product piping systems; removal of perishable and non-perishable items

from the living quarters; mooring winch testing and maintenance; generator system testing and

maintenance; electrical system repairs; miscellaneous touch-up painting on rig; and non-

destructive testing to determine extent of corrosion to hull overall structure.


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         13.    The INNOVATOR was recently moved at Gulf Marine’s facility. During the

movement of the INNOVATOR, she had line-handling crew on board, who operated the winches

on the semi-submersible to assist in moving the INNOVATOR. In addition, there was a pilot on

board the INNOVATOR during the move.

         14.    At Amerindo’s request, the INNOVATOR was ballasted down to the water’s

bottom for hurricane season. Previously, when afloat, the hull ballast system was adjusted on a

weekly basis to maintain level and/or draft.

         15.    The INNOVATOR is actively classed with the American Bureau of Shipping.

         16.    I make this Declaration based on my own personal knowledge and affirmation.

         I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge, information, and belief.



         Executed on the 29th day of November, 2016, at Gulf Island Fabrication, Inc, Houston,
TX.




                                               ________________________________

                                               Todd F. Ladd




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  Aqeel Virk

 Amerindo Services Ltd.
 Secretary & Treasurer
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